     2:11-cr-00511-BHH    Date Filed 11/26/14   Entry Number 499   Page 1 of 54

                                                                             1



 1
                         IN THE DISTRICT COURT OF THE UNITED STATES
 2                               DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION
 3
           UNITED STATES OF AMERICA,            )            2:11-CR-511
 4                                              )
                             Plaintiff          )            Charleston,
 5                                              )            South Carolina
           VS                                   )            November 10, 2014
 6                                              )
           JIAN-YUN DONG, et al,                )
 7                                              )
                             Defendants         )
 8
                                TRANSCRIPT OF TESTIMONY OF
 9                                DR. PATRICIA REPIK-BYRNE
                           BEFORE THE HONORABLE C. WESTON HOUCK,
10                          SENIOR UNITED STATES DISTRICT JUDGE

11         APPEARANCES:

12         For the Plaintiff:             MR. ERIC KLUMB
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20
           Vaxima, Inc.                   G. WELLS DICKSON, JR.
21         GenPhar Inc.                   Wells Dickson
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23         Court Reporter:                Amy C. Diaz, RPR, CRR
                                          P.O. Box 835
24                                        Charleston, SC 29402

25                  Proceedings recorded by mechanical shorthand,
           Transcript produced by computer-aided transcription.



                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 2 of 54

                                                                              2



 1
                                            * * * *
 2                       MR. KLUMB:      The Government calls Patricia Repik.

 3                       THE CLERK:     Please raise your right hand and place

 4         your left hand on the Bible.

 5                       Please state your name for the record and spell your

 6         last name.

 7                       THE WITNESS:     My name is Patricia Repik-Byrne.

 8         Spelling of the last name is R E P, as in Peter, I K, then a

 9         hyphen, B as in boy, Y R N E.

10         THEREUPON:

11                                  MS. PATRICIA REPIK-BYRNE,

12         Called in these proceedings and after having been first duly

13         sworn testifies as follows:

14                       THE CLERK:     Thank you.     You may have a seat over

15         there.

16                                       DIRECT EXAMINATION

17         BY MR. KLUMB:

18          Q. Is it okay if I just refer to you as Dr. Repik?

19          A. Yes.

20          Q. Thank you.        Dr. Repik, where are you currently employed?

21          A. Currently employed at United -- at, um, National

22         Institutes of Health in Maryland.

23          Q. Okay.       Is there a subunit that you are working for or --

24          A. Yeah.       So it's National Institute of Allergy and

25         Infectious Diseases.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 3 of 54

                                                                              3



 1          Q. And NIAID?

 2          A. NIAID.

 3          Q. What is your position there currently?

 4          A. I'm a Program Officer for emerging viral diseases in the

 5         virology branch.

 6          Q. And how long have you been doing that?

 7          A. So I have been there since April of 2002.                 So it's a

 8         little over 12 years.

 9          Q. And can you generally describe for the jury what your

10         duties and responsibilities are in that position?

11          A. Okay.       So Program Officer kind of oversees grants that

12         have to do with different diseases or conditions that NIH is

13         working on.       So the National Institute of Allergy Infectious

14         Diseases, there is a lot of different departments.                     And the

15         department that I'm in represents viruses.

16                       And so different program officers oversee different

17         virus projects.        And the projects I oversee are viruses that

18         cause encephalitis, like West Nile, encephalitis, or causes

19         hemorrhagic fever, like E-Bola, Marburg, Yellow Fever.                     So I

20         handle a lot of the projects that are dealing with those

21         kinds of things.

22                       And the projects that I handle -- everybody is a

23         little bit different -- but the projects I handle go from --

24         anywhere from basic research, where they are really trying to

25         find out, you know, what -- how these viruses actually work,




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH   Date Filed 11/26/14   Entry Number 499   Page 4 of 54

                                                                            4



 1         how they infect the body, how you develop antibodies against

 2         them, and then also up until product development.                So -- and

 3         I also handle projects that deal with developing therapeutics

 4         or vaccines or any therapeutics.            So it's pretty broad.

 5          Q. Can you give us some idea about your caseload?

 6         Approximately how many grants or projects do you oversee?

 7          A. So I oversee basically approximately 125 to 130 projects.

 8          Q. And since 2002 has your caseload been roughly the same or

 9         does it go up and down?

10          A. It goes up and down a little bit.            It went up a bit when

11         we had, you know, some influx of money, when President Obama,

12         you know, had a little bit more money, about 2009 or 2010.

13         So now it's gone down a little bit.            But it's roughly been

14         about 125 to 130, roughly, over the years.

15          Q. Okay.     Please give us a little bit of information about

16         your technical background.          What kind of degrees do you have?

17          A. So I have a bachelor's degree, then I went on to get a

18         Ph.D. degree.      So my bachelor's degree is in microbiology and

19         chemistry.     And then my Ph.D. degree is in virology and

20         viruses.

21          Q. And what did you do before you came to NIAID?

22          A. So before I came to NIAID, I had various jobs.                   So I had

23         worked -- after I got my degree, I did post-doctoral work in

24         viruses, on Dengue virus, and that was at the Walter Reed

25         Army Institute of Research down in Washington D.C.                   And then




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 5 of 54

                                                                              5



 1         our whole laboratory went up to USAMRIID, which is United

 2         States Army Medical Research Institute of Infectious Diseases

 3         in Fredericktown.         So I worked there for quite a number of

 4         years, for about six or so years.              And then I left there to

 5         take a position up in Philadelphia.              So I became Assistant

 6         Professor in medical school in Philadelphia, the Medical

 7         College of Pennsylvania, which originally was Women's Medical

 8         College.       So I was there for about nine years.            And after

 9         that, I went into doing some work in biosafety testing

10         companies.       So I had worked in three small companies.

11                       Every time that a company is trying to develop a

12         product, it has to go through certain kinds of testing that

13         the FDA requires.         And so I was at one of these testing

14         companies.       I was at a couple of testing companies overseeing

15         the different kinds of tests that you have to do to develop

16         vaccines and therapeutics.            So it's very hard to do some of

17         this work in a laboratory, and at a university, that's very

18         structured.       So usually laboratories and universities, if

19         they are developing a product, may contract out some of the

20         work to these testing companies.

21          Q. All right.        Now, you are familiar with a company called

22         GenPhar?

23          A. Yes, I am.

24          Q. And its principal investigator, do you know him?

25          A. Um, Dr. John Dong.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 6 of 54

                                                                              6



 1          Q. Thank you.        And how did that come about?          How is it that

 2         you became familiar with GenPhar?

 3          A. So GenPhar -- Dr. Dong had written a grant proposal and

 4         submitted it to the NIH and it came to our division, NIAID.

 5          Q. When, approximately, was that?

 6          A. That would be approximately 2005.

 7          Q. Okay.       And was that grant ultimately provided to GenPhar?

 8          A. The grant was ultimately provided.               It was ultimately

 9         funded.

10          Q. How many different applications were submitted before the

11         grant was awarded?

12          A. Can you clarify of his applications or all applications?

13          Q. I'm sorry.        Yeah.    Just the application of GenPhar and

14         Dr. Dong.

15          A. Okay.       He submitted this particular application to what

16         we call a partnership request for applications.                 So normally

17         there are approximately 250 to 300 applications to go to each

18         of those partnership announcements.              So his was one of those.

19          Q. Okay.       And was that -- was that initial application

20         actually awarded?

21          A. So in these partnership requests for applications, there

22         is a certain dollar amount that's given to these awards.                 So

23         you are limited in the number of awards that you can get

24         under the partnership.

25                       So if -- for instance, this is just an idea of it.




                     AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH   Date Filed 11/26/14   Entry Number 499   Page 7 of 54

                                                                            7



 1         So if you have $100 million that's given to this partnership,

 2         you can award as many grants as possible until that $100

 3         million is used up.        So there is not a particular number of

 4         awards that you make.        Everything depends upon how much money

 5         is requested in each grant application.

 6          Q. Okay.     So my question was:        The initial grant application

 7         that GenPhar and Dr. Dong submitted, was it -- was that

 8         awarded?

 9          A. It was awarded, but it was awarded at a lesser amount

10         than what he had requested.

11          Q. And was there a second application that had to be

12         submitted, then, to address that lower amount?

13          A. So -- yes.      We had -- had an additional application to,

14         yeah, that has that lower amount.

15          Q. Then the grant was awarded?

16          A. Then the grant was awarded.

17          Q. And what was the purpose of the grant?              What was its

18         mission?

19          A. The mission was to develop a vaccine for Marburg virus.

20          Q. And what was the -- I guess maybe I'm asking this

21         inartfully, but what was the steps, what was the purpose of

22         the grant?      I know ultimately develop a vaccine, but was

23         there a certain stage that it was supposed to progress to?

24          A. Yes.      So the grant was awarded for four years.               And you

25         have different steps that you need to do in those four years.




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 8 of 54

                                                                              8



 1         So it would be starting a little bit more not basic research,

 2         but, you know, earlier on research, and then go on through

 3         the four years to, you know, see how the vaccine is being

 4         produced, to produce it under certain high quality conditions

 5         to make sure that the vaccine works in small animals and

 6         large animals, and to make sure that everything is in place,

 7         you know, to know that the vaccine is working for this

 8         particular disease.

 9                       You cannot test it in humans.          It wouldn't be -- um,

10         the vaccine causes a pretty severe hemorrhagic fever.                   A lot

11         of people die from it.           So you cannot test it in humans; you

12         need to test it in animals.             So you would test it in small

13         animals, like mice and rats, and then go on to nonhuman

14         primate testing.

15          Q. Do you remember the title of the grant?

16          A. I think it was Preclinical Development on a Marburg

17         Vaccine.

18          Q. And what does preclinical development mean?                 Briefly.

19          A. So preclinical development means everything you need to

20         do before you go into clinical testing, before it can be put

21         into humans.       So you need to test the safety of it, the

22         composition of the vaccine, to make sure that it doesn't

23         change.       Like as you are producing it, you don't have

24         mutations in it or something that changes the vaccine

25         somehow, makes it less effective or makes it toxic; that sort




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH   Date Filed 11/26/14   Entry Number 499   Page 9 of 54

                                                                            9



 1         of thing.     So you have to do different kinds of testing to

 2         make sure that the vaccine would be safe.

 3          Q. Once you complete all that preclinical work, what's the

 4         next step?

 5          A. The next step would be to go into a clinical trial with

 6         that vaccine.

 7          Q. And who is it that approves that?

 8          A. The FDA would have to approve going into a clinical

 9         trial.     So you would have discussions with the FDA on whether

10         your vaccine meets the FDA requirements to be safe and

11         effective in preclinical in order for it to convince the FDA

12         that it could be used and tried out in people.

13          Q. Does that involve a separate submission, then, to the FDA

14         separate from the one that came to you --

15          A. Yes.

16          Q. -- for the preclinical one?

17          A. Yes.

18          Q. Have you been involved in that process personally?

19          A. I have been involved in that process for another

20         application.

21          Q. How long does that take to get a new drug through from

22         the completion of the preclinical work to FDA approval?

23          A. That normally takes a good 10 or 15 years.               I mean, it's

24         a long, long, very detailed process.

25          Q. All right.      Now, this particular application that was




                      AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 10 of 54

                                                                              10



 1          submitted by GenPhar, did it involve a certain specific

 2          vector or platform for the delivery of the vaccine candidate?

 3           A. Yes.      This particular application had something that was

 4          called a complex Adenovirus vector, so -- would you like me

 5          to explain the Adenovirus?

 6           Q. In lay terms, if you can.

 7           A. All right.        Adenovirus is -- it's a very small virus

 8          particle, and -- but what it -- it's very naturally

 9          transmitted among humans.            And usually by the time you are,

10          you know, three or four or five years old, you have been

11          subjected to Adenovirus infections in school.                And you come

12          home and you get a cold -- mainly causes colds -- so you get

13          a cold and you pass it around to your family and then you are

14          immune after that.

15           Q. And what's the biggest obstacle to the use of that common

16          Adenovirus vector as a delivery mechanism for the vaccine

17          candidate?

18           A. So one of the questions at that time, this particular

19          grant used something called Adenovirus Type 5, which is one

20          of those kind of viruses -- they have several types, but this

21          was Type 5.       It was a human virus.        And so one of the

22          questions was if you develop a vaccine using this vector, you

23          know, if you are are already immune, if you've had these

24          viruses when you are young and you have a cold, you may be

25          immune to this vector.          So you may not be able to be




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 11 of 54

                                                                              11



 1          vaccinated, so you would just --

 2           Q. It would have no effect?

 3           A. It would have no effect.

 4           Q. Is that problem then overcome generally?

 5           A. The problem may be overcome if you give a very large dose

 6          of a vaccine, or it may be overcome depending on how you

 7          administer the vaccine.

 8           Q. And that's in general; not in particular with Marburg or

 9          any particular virus?

10           A. Correct.

11           Q. Whatever virus?

12           A. Whatever virus.

13           Q. Now, did you review the grant application that -- the

14          revised grant application that GenPhar submitted that was

15          ultimately approved?

16           A. Yes, I did.

17           Q. For what purpose?

18           A. I would be the Program Officer, so I would need to know

19          what the grant is about in order for me to administer it.

20           Q. And did that grant application have budgeted amounts for

21          consortium or contractual agreements?

22           A. Yes.

23           Q. Do you remember what they all are -- what they all were?

24           A. I don't remember the exact amounts off the top of my

25          head, but --




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 12 of 54

                                                                              12



 1           Q. Is there something?

 2           A. Yes.      They were different contracts depending upon what

 3          was being done at the time.

 4           Q. Okay.      Is there a document I could show you that would

 5          have the exact amounts?

 6           A. Yes.

 7           Q. What would that be?

 8           A. That would be the revised application.

 9           Q. I'm going to show you what's been admitted into evidence

10          as Government Exhibit 1.             And I'll take that away from you.

11                       Do you recognize that document?

12           A. Yes, I do.

13           Q. What is it?

14           A. Okay.      So this is a document that's titled Preclinical

15          Evaluation of a Trivalent Marburg Vaccine by Dr. Dong.

16           Q. Is that the revised application that you reviewed?

17           A. Yes, it is.

18           Q. Take a look, please, at page 8, if you would.                 There is a

19          table in the middle.          Do you see that?

20           A. Yes, I do.

21           Q. Are you familiar with it?

22           A. So the table is labeled Consortium Contractual

23          Agreements.       There is a list of different contractors with

24          the cost.

25           Q. Okay.      You've seen that before and reviewed it before?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 13 of 54

                                                                              13



 1           A. Yes.

 2           Q. Okay.      Are the costs geared to any time periods or tasks?

 3           A. So the costs --

 4                       THE COURT:     Mr. Klumb?      Mr. Klumb?     Just a minute.

 5                       This exhibit was introduced some time ago.                 It was

 6          gone into by your first witness, Mr. Fato, a subsequent --

 7          and he published, I don't know how much of it, but large

 8          portions of it.        I told you then that you could publish these

 9          exhibits one time, you could talk about them in your closing

10          argument, but you could not publish them repeatedly with each

11          witness you call.         And I've ruled that way one time when you

12          tried to publish this very same document later through

13          another witness, and I'm going to rule that way again.                     You

14          publish this document through the witness, and I'm not going

15          to permit it to be published again.              It's in evidence, the

16          jury can see it, you can call to their attention to any

17          provision you want to, but to let each successive witness go

18          in and call the jury's attention to parts of this exhibit,

19          which can be published, in my opinion, is unnecessary,

20          unwarranted, and I previously told you I wasn't going to

21          permit it.

22                       So let's go on to something else.

23                       MR. KLUMB:       Okay.

24           Q. Dr. Repik, close up the exhibit, if you would, please,

25          and we'll ask you from memory.             Do you remember what types of




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 14 of 54

                                                                              14



 1          subcontractor costs were in the grant proposal?

 2           A. There were --

 3                       THE COURT:     You can't -- you can't do that.             These

 4          documents are in evidence.            They are in evidence.       And what

 5          you are trying to do, I don't know.              Are we talking about

 6          Exhibit 1 now?        Are we talking about another exhibit?

 7                       MR. KLUMB:       What we are talking about what

 8          subcontracts were --

 9                       THE COURT:     I'm asking you are we talking about

10          Exhibit 1 or another exhibit?

11                       MR. KLUMB:       Well, I'm talking about the witness's

12          memory of what subcontractor costs were included.

13                       THE COURT:     Where?

14                       MR. KLUMB:       In the grant award.

15                       THE COURT:     Is that Exhibit 1?

16                       MR. KLUMB:       It's multiple exhibits.        There are --

17          there is the grant award itself; there is annual progress

18          reports, which are budgets for the following year, all

19          multiple ones, including Exhibit 1, Your Honor.

20                       THE COURT:     Okay.     Well again, you've got multiple

21          exhibits in evidence.          I don't know of any exhibit having to

22          do with the grant that hasn't come in evidence.                 I don't know

23          of a single one that hasn't been published by a witness of

24          yours.

25                       In addition to that, I've made rulings under Rule




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499   Page 15 of 54

                                                                               15



 1          1002, which is the Best Evidence Rule, which says if you are

 2          going to prove the contents of a written document you have to

 3          have that written document.             So we've got the written

 4          document, but you want to ask her memory, and you can't do

 5          that.     The document is here.           You can publish it.      If you

 6          have to have an expert accountant come in and add things up,

 7          you can do that, but you can't publish it through every

 8          witness, and you can't prove the contents by her testimony.

 9          You have to do it by the written document.

10                       And with those two rulings, let's move on.

11                       MR. KLUMB:       Okay.

12           Q. Regarding consortium or contractual costs in general, as

13          the Program Officer, what involvement do you have in that

14          work over the course of the grant?

15           A. So we would expect that the contracts would be -- they

16          would be -- there would be a subcontract to this grant and a

17          contract to this grant.              And so we would expect the work to

18          be done as it's laid out in the grant proposal.

19           Q. Okay.      And you mentioned that there were dollar amounts

20          attached to these that you could not remember.                 During the

21          course of the grant, do you review any financial records to

22          see whether or not the actual expenses are in line with the

23          budget?

24           A. No.      So the way that our NIH is set up, there is another

25          group that reviews the finances and I would review the




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 16 of 54

                                                                              16



 1          scientific aspects of it.

 2           Q. And for those subcontractors, whatever they are, do you

 3          review a report from each and every one of them during the

 4          course of the grant or just some of them?

 5           A. So the progress reports they would review usually state,

 6          this is the work that was done, you know, according to the

 7          milestones of the grant.             And certain ones have to be done by

 8          contractors; it could not be done by Dr. Dong or GenPhar.

 9           Q. So if I understand it correct, some of the reports on the

10          results of the contractor work is done by GenPhar and some

11          they have to provide to you the source report?

12           A. Correct.

13           Q. Now, you mentioned a progress report.               How often do those

14          come in?

15           A. They come in annually.

16           Q. And did they produce those in this case, as well?

17           A. Yes.

18           Q. And did you review them?

19           A. Yes.

20           Q. For what purpose?

21           A. Program officers review the progress reports to make sure

22          that, you know, progress has been made on the grant, to see

23          if there are any glitches, to see, you know, how the progress

24          is going.      And so we don't see all of the raw data, but we

25          see the reports that are submitted.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499    Page 17 of 54

                                                                                17



 1           Q. Okay.      And do you remember getting a progress report for

 2          year 1 of this particular grant?

 3           A. Yes.

 4           Q. How did you respond after you reviewed it?

 5           A. So the grant, this particular grant, um, is focused on

 6          Marburg virus.        Marburg is a hemorrhagic fever virus that

 7          causes severe hemorrhages, very similar to something that you

 8          may have heard on the news like E-Bola.                  It's the cousin to

 9          E-Bola.

10                       So in the progress report for this particular grant,

11          there was information in the progress report that referenced

12          a vaccine that included an E-Bola vaccine.

13           Q. So how -- what did that prompt you to do?

14           A. So I -- after I reviewed the report, I contacted GenPhar

15          and --

16           Q. Do you remember who it was that you contacted, talked to

17          at GenPhar?

18           A. I think I talked to Jan Woraratanadharm.

19           Q. Pretty close.         And then what did you tell her?

20           A. So Dr. Dong was not available at the time.                  I think he

21          was on a business trip.              And so I told Jan that, you know,

22          this progress report, you know, while it was very

23          interesting, I would like to, you know, have the progress

24          report really focus on the grant proposal itself, you know,

25          what NIAID was paying for this particular project.                   And so --




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 18 of 54

                                                                              18



 1           Q. Which was, again, for what purpose?

 2           A. For the Marburg virus.

 3           Q. Okay.      Did you -- did you raise any other issues about

 4          the progress report with her besides the fact that it made

 5          reference to an E-Bola report?

 6           A. So there -- there were a couple of other notes that I

 7          took on the progress report.

 8           Q. What were they?         What were those other issues?

 9           A. So one of them, the progress report had mentioned using

10          some primary human cells.            So I raised an issue with that.

11          This grant -- this particular grant did not have the

12          approvals to use any human material.

13           Q. Okay.      What other issues, if any?

14           A. I know there was another issue, and I can't remember it

15          off the top of my head.

16           Q. Is there something that would refresh your recollection?

17           A. Yes.

18           Q. What would that be?

19           A. I took notes during my conversation with Jan.

20                       MR. KLUMB:       The Court's indulgence, I'm just going

21          to mark this for the record.            Having previously shown it to

22          counsel.

23           Q. I'm going to show you what's been marked for

24          identification as Government Exhibit 214.               It's a photocopy

25          of a document.        Do you recognize it?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 19 of 54

                                                                              19



 1           A. Yes, I do.        These are the notes that I took during my

 2          conversation with Jan.

 3           Q. Would you review the notes to yourself, please, and then

 4          tell us whether or not that refreshes your recollection about

 5          the items that you raised with Dr. Woraratanadharm?

 6                       THE COURT:     Any objection?       Ms. Parham?     Any

 7          objection?

 8                       MS. PARHAM:       Not to her refreshing her memory.            I

 9          object to the notes coming into evidence, but not to refresh

10          her memory.

11                       MR. KLUMB:       I'm not going to offer them.

12           Q. Are you done?         You reviewed them?

13           A. Yes.

14           Q. And does that refresh your recollection?

15           A. Yes, it does.

16           Q. Take that away.

17                       And what other issues did you raise with Dr.

18          Woraratanadharm?

19           A. So there were some personnel changes that were not there

20          on the original grant application.

21           Q. And anything else?

22           A. And -- I'm sorry.          I'm just blanking out again.             Some of

23          the milestones were changed, also, and the order of the

24          milestones were changed.

25           Q. What did you tell her about those?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 20 of 54

                                                                              20



 1           A. I said that for this particular kind of grant they need

 2          to contact the program officer to get approvals to change the

 3          mile -- the order of the milestones.

 4           Q. Okay.      Now, did you have a conversation with anyone else

 5          at GenPhar about those issues that you just discussed, that

 6          you told us about that you discussed with Dr.

 7          Woraratanadharm?

 8           A. No, those were my personal notes that I took, and I

 9          discussed them with Dr. Woraratanadharm and asked if they

10          could be addressed.

11           Q. And did you talk to anybody else besides her at GenPhar

12          about those issues?

13                       MS. PARHAM:       Asked and answered, Your Honor.

14                       THE COURT:     I thought you just asked her that about

15          two questions ago, but let's get an answer.

16           Q. She was the only person that you talked to at --

17           A. Dr. Dong -- I called to talk to Dr. Dong, but he was not

18          available then.        So I only spoke with Dr. Woraratanadharm.

19           Q. And never talked to anyone else?

20           A. I didn't talk to Dr. Dong personally.               He was on a

21          business trip.

22           Q. Okay.      Now, when did the funding end for this particular

23          grant?   Do you remember what year?

24           A. So the funding went from -- normally it was a four-year

25          grant in 2006 to 2010, and then there was a one-year no cost




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 21 of 54

                                                                              21



 1          extension on it.

 2           Q. And just so we understand what that means, what is a

 3          one-year no cost extension?

 4           A. That means you get an extension to do the work for one

 5          year, but there is no additional funds for that.

 6           Q. So the actual funding, in other words, GenPhar's ability

 7          to get money for the grant would have ended what year, then?

 8           A. It would have been five years.             So that would have been

 9          2011.

10           Q. Now, did there ever come a time when you visited GenPhar

11          here in South Carolina?

12           A. Yes, I did.

13           Q. And when would that have been?

14           A. So that would have been May, and I believe 2009, '10.

15           Q. Is there something I can show you that would refresh your

16          recollection about that?

17           A. Yes, there would.

18           Q. What would that be?

19           A. I have notes from that -- from my site visit.

20                       THE COURT:     Do you remember coming to South

21          Carolina?

22                       THE WITNESS:      Yes, I do.     It was wonderful.

23                       THE COURT:     Let's ask her some questions about it

24          and see if you can remember it.             That's the first requirement

25          to refresh somebody's memory, if they don't have a memory.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499    Page 22 of 54

                                                                               22



 1          So let's cover that base first.

 2                       MR. KLUMB:       Thank you, Judge.         I'll do my best.

 3           Q. Do you remember being interviewed by federal agents for

 4          the first time about GenPhar?

 5           A. Yes, I do.

 6           Q. Was your trip to GenPhar before or after that?

 7           A. My trip to GenPhar was after my conversation with federal

 8          agents.

 9           Q. Is there anything you can think of that would fix -- help

10          you fix the time or the year that you came off the top of

11          your head?

12                       THE COURT:     I thought she said May of '09.               That's

13          what I wrote down.

14                       MR. KLUMB:       I thought she said --

15                       THE WITNESS:      I said '09 or '10, but it would have

16          been in that timeframe.

17                       MR. KLUMB:       Okay.

18           Q. Did you go to their existing facility at the time?

19           A. Yes.

20           Q. And describe it for us.

21           A. So the existing facility where the work was being done

22          was generally -- it looked like, you know, a nice building.

23          It was just generally a building that you would normally see

24          driving down any street.             And inside the building were

25          laboratories.       So they had office space, they had laboratory




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499   Page 23 of 54

                                                                               23



 1          space, and it looked like a not -- a nondescript kind of a

 2          building.      I mean, it was just a nice building.

 3           Q. Okay.      And did you see their new construction?

 4           A. Yes.      I asked to see the new construction.             I knew that

 5          there was new construction, and so --

 6           Q. How did you learn that, first of all?

 7           A. So in the original grant proposal, there was mention of

 8          new construction.         And I know, you know, just from

 9          conversations with Dr. Dong that there was new construction

10          going on for a new building.

11           Q. Okay.      So you went and saw it.          Who went with you?

12           A. Dr. Dong.

13           Q. Anyone else?

14           A. I don't believe so.              Just Dr. Dong and myself.

15           Q. And can you describe the new building for us, please?

16           A. So the new building was a bit a ways from the current --

17          their current location.              And so it was a beautiful building.

18          It was a huge brick building, and very nice setting.

19                       And when I walked in the building, there were

20          double, like a -- not a winding staircase, but a staircase

21          that's going up from the main hall where you came in.                    And

22          they had a beautiful setting.              It was like a park-like

23          setting.

24                       One side of the building was to be designated as

25          laboratory space for the workers in the building, and the




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 24 of 54

                                                                              24



 1          other side of the building was to be designated as what's

 2          called a manufacturing facility where you can do

 3          manufacturing under, like, FDA regulations.

 4           Q. And how would you describe it?

 5           A. I think I wrote a note to Dr. Dong and I said this was

 6          the Taj Mahal of scientific buildings.              It was really

 7          beautiful.

 8           Q. How about the floors?

 9           A. The floors were -- normally in the buildings I have been

10          in, the floors are just concrete, or, you know, nothing

11          special.      These had kind of like granite tiles to them.             The

12          lab benches were this beautiful wood, they weren't the

13          regular steel that normally labs are.              So, I mean, it was a

14          very beautiful building.

15           Q. So did the nature of the building, as you observed it,

16          prompt you to ask Dr. Dong any questions about it?

17           A. So I did ask, you know, Where are you getting the money

18          to build this building?

19           Q. And what did he tell you?

20           A. He said he had investor funding for that.

21           Q. Did -- during the period of time that you supervised this

22          grant, did anyone from GenPhar ask you if you could use

23          leftover grant money to pay for that building?

24           A. No.

25           Q. Did Dr. Dong give you any indication that day that that




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499    Page 25 of 54

                                                                               25



 1          was the case?

 2           A. No.

 3           Q. Had you learned that GenPhar was using leftover grant

 4          money to pay for the building, what would you have done?

 5           A. I would have talked to my supervisor first, and also

 6          talked to the Grants Management people.                 So the Grants

 7          Management people at NIH are the ones that are concerned with

 8          the spending.

 9           Q. Okay.      Now, let me show you what's been previously marked

10          for identification as Government Exhibit 32 but not admitted.

11                       Show you something different.          I'm going to show you

12          a large pile of paper marked for identification as Government

13          Exhibit 169.

14                       THE COURT:     Do you have anything further of this

15          witness?

16                       MR. KLUMB:       I'm waiting for counsel to review the

17          document, which is sizeable, but was in our exhibit list and

18          previously provided.

19                       MS. PARHAM:       I'm not sure the relevance of all

20          this, but I'll just wait and see.

21                       THE COURT:     All right.      Let's proceed.

22           Q. Was there any work under this grant that had to do with

23          toxicity in biodistribution studies?

24           A. Yes.

25           Q. What work was supposed to be done?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 26 of 54

                                                                              26



 1           A. So the work -- when you develop a vaccine, one of the

 2          requirements, the FDA requirements is to do a biodistribution

 3          study and a toxicity study in animals.              Would you like me to

 4          explain what those are?

 5           Q. That's good enough.

 6                       And was that work in fact done as far as you knew?

 7           A. Yes.

 8           Q. And how was it that it was reported to you?

 9           A. So in -- in progress reports, there was mention that

10          bio -- that toxicity and biodistribution studies were done on

11          the M8.      The vaccine candidate was called M8.

12           Q. Okay.      And did you receive any reports?

13           A. So yes.       I had asked for reports of this.

14           Q. Who did you ask?

15           A. Again, it was an e-mail that I had sent, and I had asked

16          for reports.       And I think I had sent them to Dr. Dong or to

17          Jan.

18           Q. And then did you subsequently get the reports?

19           A. I did.

20           Q. Okay.      Let me show you, then, what's been marked for

21          identification as Government Exhibit 169, which is a very

22          large document.

23           A. Um-hum.

24           Q. Take a look at the front page, if you will, and tell us

25          whether you recognize that.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499   Page 27 of 54

                                                                               27



 1           A. Yes, I do.

 2           Q. What do you recognize it to be?

 3           A. So this is called a final report of EBO7MD vaccine.

 4           Q. Is that one of the reports that you received?

 5           A. Yes.      I received this by e-mail, like a PDF e-mail.

 6           Q. Okay.      And at the time -- well, strike that.

 7                       MR. KLUMB:       At this time, then, I would offer into

 8          evidence Government Exhibit 169.

 9                       THE COURT:     Yes, ma'am?

10                       MS. PARHAM:       No objection.

11                       THE COURT:     No objection.       Any objection?      Okay.

12          Without objection.

13                       (Thereupon, Government Exhibit Number 169 was

14          received in evidence.)

15           Q. Now, you just told us a little while ago that after the

16          first year progress report you noticed that there was an

17          E-Bola test that had been reported.

18           A. Correct.

19           Q. And now, is this for Marburg or something different?

20           A. So this report is a toxicity study that has a combined

21          E-Bola/Marburg vaccine.              So it's two vaccines in one.

22           Q. And do you happen to know, was Dr. Dong working with

23          another federal agency at the time on an E-Bola/Marburg

24          vaccine?

25           A. So he had a contract with USAMRIID, which is an Army




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499   Page 28 of 54

                                                                               28



 1          contract, to work on an E-Bola/Marburg vaccine.

 2           Q. Now, at the time that you received this report, did you

 3          notice that it was for both E-Bola and Marburg and not --

 4                       THE COURT:     Now again, again, there has been no

 5          objection made, but anybody that looks at this exhibit kind

 6          of shudders a little bit because it would probably take until

 7          next Friday to read it.              But still, Rule 1002 applies to it,

 8          just as it does any other written document.                 The contents of

 9          which you wish to prove, you must prove it with the written

10          document.      And it appears to me that at least the last

11          question was an attempt on your part to get her to say what

12          was in the report, and she can't do that.                She can publish

13          it, but she can't summarize what's in it.                That's what the

14          Best Evidence Rule is all about.

15                       And let me see if I can put my hands on it, and I'll

16          read it to you, just in case you haven't read it in a while.

17          Let's see now.        It's a very long rule.         "To prove the content

18          of a writing, recording or photograph, the original writing,

19          recording or photograph is required."               That's the Best

20          Evidence Rule.

21                       Ladies and gentlemen, I would like to finish this

22          witness, but I don't want to deprive you of lunch any longer.

23          And so let's be in recess until 2:30.               We are getting started

24          a little late.        If you come in late, we'll accommodate you,

25          but try to be back at 2:30 if you can.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 29 of 54

                                                                              29



 1                       We'll be in recess.

 2                       (Thereupon, the jury exited the courtroom.)

 3                       THE COURT:     And I don't know what you plan to do

 4          with this document, I certainly -- if you want to read it, I

 5          don't know what we'll do.            Obviously, the way the Rules are

 6          written, 1002 has to do with the Best Evidence Rule, 2006 has

 7          to do with summary.         And obviously that summary provision is

 8          in there for obvious reasons, and this exhibit would

 9          certainly apply to it.          It doesn't say I can make you

10          summarize it; it says you may summarize it.                So let's see

11          what happens, but I certainly hope we don't have to take the

12          time of the jury to read that document to them.

13                       MR. KLUMB:       Your Honor, I was just planning on

14          showing her, publishing a couple of pages.

15                       THE COURT:     Say what?

16                       MR. KLUMB:       I planned on only publishing a couple

17          of pages, a few pages.

18                       THE COURT:     That's fine.      And the defendant, bear in

19          mind, if they publish a few, you can make them publish

20          additional pages that the jury needs to hear to fully

21          understand what they are hearing.             You understand?

22                       MR. MACE:      Yes, sir.

23                       (Thereupon, there was a lunch recess.)

24                       THE COURT:     You can bring the jury out.          Come back

25          around, please, ma'am.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 30 of 54

                                                                              30



 1                       (Thereupon, the jury returned to the courtroom.)

 2                       THE COURT:     All right, sir.

 3                       MR. KLUMB:       You can be seated.

 4           Q. Let me just back up and take care of some housekeeping,

 5          Dr. Repik.

 6                       Recall that you could not remember whether your site

 7          visit was in 2009 or 2010.            Let me show you what's been

 8          marked for identification as Government Exhibit 194,

 9          previously shown to counsel, and I would ask you to take a

10          look at that and review the document and then tell us whether

11          or not that refreshes your recollection as to the time of

12          your visit.

13                       THE COURT:     Any objection?

14                       MS. PARHAM:       No, sir.

15           A. My visit was on May 24th through 25th, 2010.

16           Q. By the way, you indicated that Dr. Dong told you that the

17          building was funded with investor money.                Did he give you any

18          specifics about the investor or not?

19           A. Um, I asked who the investor was.              He didn't name any

20          names, but he said it was someone from Germany, and they had

21          made some money through railroads.             And that's all I know.

22           Q. Okay.      Now, I think when we left we had just introduced

23          Government Exhibit 169 into evidence.

24                       MR. KLUMB:     And so if the Court please, I would like

25          to publish two pages from it.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 31 of 54

                                                                              31



 1                       THE COURT:     Sure.

 2           Q. Okay.      Can you see that up there okay, Dr. Repik?

 3           A. Yes.      Yes.

 4                       MR. KLUMB:     Zoom in on the middle of the page.

 5           Q. First of all, what is -- would you read, please, the

 6          title?

 7                       THE COURT:     Why don't you read it, sir?

 8                       MR. KLUMB:       Be glad to.     Sorry, Your Honor.

 9                       It states:     "Final Report, EBO7M8 vaccine.              A repeat

10          intramuscular dose toxicity study in the New Zealand white

11          rabbit test article EBO67MA.            Sponsor GenPhar.      Testing

12          facility, Bridge Global Pharmaceutical Services.                 Study

13          completion date, May 15th, 2009."

14           Q. Did you notice that the article tested when you received

15          this report was for both E-Bola and Marburg viruses?

16           A. Well, the E-Bola is obviously E-Bola, and I knew that MA

17          is Marburg.

18           Q. Did your grant cover -- the grant that you were

19          administering -- cover both E-Bola and Marburg?

20           A. No.      Mine only covered Marburg.

21           Q. Were you aware of another grant that covered E-Bola and

22          Marburg?

23           A. So that would be a contract that was through DOD, through

24          the Army.

25           Q. Through the Army?          Okay.    Thank you.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 32 of 54

                                                                              32



 1                       Now, let me show you what's been -- I'm sorry --

 2          page 5 of that exhibit.

 3                       MR. KLUMB:     And I'll publish, I guess, this page.

 4          It's a quality assurance statement for BO7M8 vaccine.                   A

 5          repeat muscle low dose toxicity study in the New Zealand

 6          white rabbit.       And it indicates in the middle of the page

 7          that the draft report and raw data was audited on March 14th

 8          to 22nd, 2007.        The date reported by the study director was

 9          March 22nd, 2007.         And management, the protocol amendment

10          audit was April 11th, 2007.            The date reported was April

11          12th, 2007.       And the final report post-audit and amendment

12          audit was May 4th, 5th and 7th, 2009.              Date reported May 8th,

13          2009.

14           Q. Doctor, when you reviewed this report after it was

15          provided to you by GenPhar, did you notice that the report

16          summarized test results that had been done two years earlier?

17           A. Correct.       Yes.

18           Q. Did you notice that when you reviewed it?

19           A. Yes.

20           Q. Okay.      And what -- what were your conclusions about that?

21           A. So my conclusions -- well, one, I was wondering why the

22          final report date was several years after the initiation of

23          the study, and --

24           Q. Did you ask anyone at GenPhar?

25           A. I did.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 33 of 54

                                                                              33



 1           Q. And what --

 2           A. I believe I also asked Jan that question, and Dr. Dong

 3          maybe.     And they just said they hadn't received the final

 4          report yet.       So I said, You really need to get the final

 5          report.

 6           Q. Thank you.        Now let me show you what's been marked for

 7          identification as Government's Exhibit 168 that I have

 8          previously shown to counsel.

 9                       Do you recognize it?

10           A. Yes.      This is a final report for the same E-Bola/Marburg

11          vaccine for a dose vital distribution study in New Zealand

12          white rabbits.

13           Q. Was that report provided to you?

14           A. Yes, it was provided to me at the same time the tox

15          report was.

16           Q. By whom?

17           A. By Jan again.

18                       MR. KLUMB:       At this time I would offer Government

19          Exhibit 168.

20                       MS. PARHAM:       No objection.

21                       MR. DICKSON:       No objection, Your Honor.

22                       (Thereupon, Government's Exhibit Number 168 was

23          received in evidence.)

24           Q. Incidentally, this company, the Bridge Global

25          Pharmaceutical Services, are you familiar with them?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 34 of 54

                                                                              34



 1           A. I know that they are a contract research organization, or

 2          CRO.   They do -- they are recognized as a legitimate CRO for

 3          biosafety testing for FDA products.              Gone through FDA

 4          approval.

 5           Q. Do they run a GLP lab or not?

 6           A. Yes, they would run a GLP lab.

 7           Q. When you visited the GenPhar facility in May of 2010,

 8          could you tell whether or not GenPhar's facility was a GLP

 9          lab?

10           A. No, I didn't -- I didn't review any of the -- for a GLP

11          lab, you need to have a lot of documentation, a lot of SOPs,

12          that sort of thing.

13                       So when I visited GenPhar labs, I was not there to

14          do an audit; I was there really to talk about the vaccines

15          that were being produced.            I didn't request to see any of

16          their SOPs or anything like that, but --

17           Q. Based on your --

18           A. -- you know --

19           Q. Go ahead.

20           A. I'm sorry.        It seemed to me to be a company that was

21          doing, you know, both research and development, but it

22          wouldn't probably be the extent of the documentation that a

23          company like a CRO would have.

24           Q. Did you conclude that they were capable of doing GLP work

25          in their lab?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 35 of 54

                                                                              35



 1           A. I'm sorry, I can't even respond to that.                I didn't see

 2          any of their training.          They would have to have training

 3          records and all of that sort of thing.              So I didn't request

 4          to see any of that.

 5                       MR. KLUMB:       Thank you.     That's all I have, Your

 6          Honor.

 7                       THE COURT:     Cross-examination.

 8                       MS. PARHAM:       Thank you.

 9                                        CROSS-EXAMINATION

10          BY MS. PARHAM:

11           Q. So you didn't see any clean rooms; you weren't even there

12          for that type of evaluation?

13           A. Correct.

14           Q. So you don't know whether they did or didn't?

15           A. Right.

16           Q. Now, these grants that you work on, they have significant

17          peer reviews before they are granted to a grantee?

18           A. Correct.

19           Q. And so this NIH Marburg Grant had that same type of

20          process?

21           A. Correct.

22           Q. And aren't there a good number of -- how many experts sit

23          on that peer review process?

24           A. So for this particular peer review process, it was a

25          partnership grant, and so the whole panel probably were 50 or




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 36 of 54

                                                                              36



 1          more people.       And they would all have different backgrounds.

 2          Some of them would be viruses; some of them would be

 3          bacteria.      So they would have a different background, but

 4          they would also have background in process development and

 5          product development.

 6           Q. And those are all considered experts in their field --

 7           A. Correct.

 8           Q. -- those 50 people?

 9                       And so they would evaluate GenPhar's grant and other

10          proposed grants to see which ones they wanted to fund?

11           A. They don't have any decision in the funding.                 They have a

12          decision in how -- how well the application is presented, you

13          know, what -- if it looks feasible, if it's an important

14          project, so --

15           Q. And they would have done that with regard to this grant?

16           A. Correct.

17           Q. Now, what percent of the grants are actually funded, you

18          know, if you take all the applicants and then you --

19          approximately what percentage are funded?

20           A. Like I mentioned before, for this particular kind of

21          process, it's not a particular number that's funded.                    So

22          it's -- for this particular process, for this partnership

23          application, there was a certain amount of money.                 And they

24          try to fund as many for that amount of money as they can.

25                       So those kind of grants are all on different stages




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14    Entry Number 499   Page 37 of 54

                                                                               37



 1          of process development.              So the ones that are later stage

 2          would cost more.         So if we had a lot of those, then there

 3          would be fewer grants funded in that pot of money.

 4           Q. And the later stage actually involves vaccine production?

 5           A. Right.      Any --

 6           Q. Just much more expensive than getting there?

 7           A. Correct.       So GMP production and all of these biosafety

 8          testing with a CRO cost more money.

 9           Q. And I guess logically you would rather have several

10          viable vaccines to be tested than try to put all your money

11          into one to be produced?

12           A. Correct.

13           Q. And so that's why a lot of the earlier stage grants would

14          be funded, because you have more shot at getting a good

15          vaccine?

16           A. So when these grants are reviewed, they are not reviewed

17          saying that we want a particular vaccine; they are reviewed

18          basically on the science.             And then the program officers also

19          can have -- they have an opinion after all the grant -- all

20          the review process is completed.              And the program officers

21          also can say, you know, We have very little grants in this

22          kind of portfolio or to this product.               You know, if there is

23          a way to try to get that grant funded, we would try to do

24          that.

25           Q. When you say it's more of a collaborative -- I can't




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 38 of 54

                                                                               38



 1          remember which word you used -- what's the significance

 2          between that as opposed to other research grants?

 3           A. The significance of this particular grant?

 4           Q. You said that -- I'm not sure which word you used, but

 5          where there is input from the scientists?

 6           A. So this was a cooperative agreement grant.                This

 7          particular grant was a cooperative agreement grant.

 8           Q. So the scientists have input as the research develops?

 9           A. So the scientists always have the input.                In a

10          cooperative agreement grant, the program officer has

11          significantly more input than a regular smaller RO1 project.

12           Q. And that would have been you?

13           A. That would be me.

14           Q. So when this grant was submitted, these experts looked at

15          it and they believed the research was well-founded and it was

16          a good grant?

17           A. Correct.       So they thought it was a good grant.              And it

18          had gotten a particular score.             And it didn't go through on

19          that particular funding round because money for all the other

20          scores -- the money was tending to be used up on that

21          particular pot of money.

22           Q. And so then once the grant is funded, or at least it's

23          scored by the experts and NIH decides to fund a grant, then

24          you become the Program Officer for the grant?

25           A. Correct.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499    Page 39 of 54

                                                                               39



 1           Q. And you review primarily the science behind the

 2          milestones and the grant?

 3           A. Correct.

 4           Q. And you said there is another division of NIH that kind

 5          of looks at the finances.

 6           A. Correct.

 7           Q. And what are they called?

 8           A. So that's Grants Management, Grants Management branch.

 9           Q. And so was there a particular Grants Management Officer

10          assigned to this grant?

11           A. There always is, yes.

12           Q. Okay.      And who would that have been?            Do you remember?

13           A. I think -- so the Grants Management Officer -- the Grants

14          Management officers are assigned to grants based on

15          geography, all right?          So certain ones are assigned to

16          different states, and then those switch around.                  So I think

17          this particular grant had two or three.                 I think Don Mitchum

18          was one and Penny Williams may have been one.                 So they --

19           Q. So Don Mitchum, Penny Williams.              Do you recall any other

20          names of any of those financial managers?

21           A. Not offhand I don't.

22           Q. All right.        And so what is their role as to what your

23          role is?

24           A. So my role is basically to look at the science, see if

25          the science is feasible, see that in the progress reports




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 40 of 54

                                                                              40



 1          that the work that is supposed to be done looks like it's

 2          being done with not too many glitches.              And if there is a

 3          glitch, we can switch things around a bit to work around

 4          that.

 5                       The grants management portion of this is to look

 6          more at the finances, you know, to see that things look

 7          pretty reasonable.         And, you know, if there is questions on

 8          animal use or any other kind of use, they handle those, as

 9          well.

10           Q. And so even though you are concerned with the science,

11          you know enough about this science, you also look at whether

12          the cost to achieve a certain science appear to be reasonable

13          to you?

14           A. Correct.

15           Q. I mean, in addition to the financial side also looks at

16          that?

17           A. Right.

18           Q. And with regard to this grant, you believe that it was

19          reasonable as far as cost associated with scientific progress

20          or not?

21           A. So if I can -- I mean, when the grant was first reviewed,

22          it came in as a certain cost, and looking at it

23          scientifically, also.          So some percent was given -- a

24          critique is given of the grant proposal.

25                       So this particular grant, they had some questions




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 41 of 54

                                                                              41



 1          about the platform, the Adenovirus platform, and it didn't

 2          make the first cut, so -- and the cost looked a little bit

 3          unreasonable at that point.

 4                       And so what we were able to do is to cut down on the

 5          actual science that was being proposed because it seemed to

 6          be too far advanced for wherever this product was at the

 7          time.   And so some of the milestones were cut and the cost

 8          was cut.

 9           Q. And you did that?

10           A. So that was done on, it's something called end of the

11          year funding.       So I had proposed -- I had recommended this

12          grant for end of year funding.             So the money for that

13          particular partnership was used up.              But when NIH funds

14          grants, there is always a pot of money that NIH gets to fund

15          grants, and there is always a little bit left over.                     So at

16          the end of the year --

17                       THE COURT:     Excuse me.      I don't mean to interrupt

18          you, but she asked you a question and the question was, "And

19          you did that," talking about cutting the cost.

20                       THE WITNESS:      I recommended it.

21                       THE COURT:     Okay.

22                       Go ahead.

23           Q. And was that before the grant was even funded or was that

24          after a certain year?          When did that take place?

25           A. That was before the grant was funded.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 42 of 54

                                                                              42



 1           Q. All right.        So then there was a revised application to

 2          meet your concerns and that's the application I guess that

 3          the Government was showing you?

 4           A. That's right.

 5           Q. So that's after it was revised?

 6           A. Right.

 7           Q. But in that application, those are basically projected

 8          research and projected costs that they are going to do over

 9          the life of the grant?

10           A. Correct.       So they have a budget for every year.

11           Q. And is that also the same with the progress reports, they

12          tell what personnel was used the past year, but they also

13          tell what kind of science they plan to achieve for next year?

14           A. Correct.

15           Q. And so those are kind of projected science and

16          milestones?

17           A. So they are -- generally for this type of grant the

18          milestones are there.          And they are supposed to be working

19          through the milestones, unless there is a glitch in them, we

20          can switch those around.

21           Q. And if there is a glitch, as you call it, then you would

22          work with the company to try to find a way around that

23          glitch?

24           A. Correct.

25           Q. Because your goal is to have the science done?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 43 of 54

                                                                              43



 1           A. Correct.

 2           Q. And in your opinion, was the science met based on the

 3          milestones you read and the information you received from

 4          GenPhar --

 5           A. Correct.

 6           Q. -- throughout the course of the grant?

 7           A. Throughout the course of the grant it looked like it was,

 8          the work was being done pretty much on track.                There were --

 9          there were some glitches, there were some holdups in some

10          areas, but generally it seemed to be progressing pretty well

11          with the progress reports that I received.

12           Q. And one of those glitches was even the purchase of a

13          certain bioreactor.         And they submitted to you and asked that

14          they purchase something smaller, some other equipment?

15           A. Correct.

16           Q. And that's a typical example of a glitch?

17           A. Well, they decided they needed a different piece of

18          equipment.      And so it was still within the cost of the grant,

19          the grant funds did not increase, so they re-budgeted certain

20          areas to get that piece of equipment.

21           Q. Right.

22           A. But they had to get NIH permission to do that.

23           Q. But they can re-budget up to 25 percent without

24          permission?

25           A. For this particular type of grant, they do need




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 44 of 54

                                                                              44



 1          permission.       And this is a cooperative agreement grant.               This

 2          is not a normal NIH grant.

 3           Q. But Mr. Fato would have equal knowledge about this

 4          particular kind of grant?

 5           A. Correct.

 6           Q. Okay.      And there were, I believe, facilities and

 7          administration costs of 76 percent for years 2, 3 and 4?

 8           A. Yeah.      So the flows in administration, those numbers are,

 9          I guess, established outside of our grant mechanism.                    They

10          are established another way.

11           Q. And if the application -- and even in the progress

12          reports, there is a monetary amount next to each milestone?

13           A. Correct.

14           Q. And so once a grantee achieves that scientific milestone,

15          then there -- that's when the next piece of monetary budget

16          would be released?

17           A. All right.        So the program officers review the grant

18          proposal of the, um, report -- the progress report, I'm

19          sorry, and it looks like it's, you know, they were pretty

20          much on track, the program officer for this particular type

21          of grant says, you know, These milestones seem to have been

22          met or they are near being met and we give approval for the

23          next money for the next year.

24           Q. Okay.      And so whether that money is released is dependent

25          on whether the scientific milestone has been achieved?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 45 of 54

                                                                              45



 1           A. Correct.

 2           Q. And that's what it is based upon?

 3           A. Correct.

 4           Q. All right.        Now, with regard to this bridge report -- let

 5          me go back.

 6                       With regard to the kind of problem that you said

 7          could be present in an Adenovirus Category 5 type of vaccine,

 8          because you know our bodies have been -- I can't remember the

 9          details -- but Dr. Dong and GenPhar found a way around that?

10           A. So when he wrote the grant proposal, it -- he didn't

11          really say the way around it in the grant proposal itself.

12          So some of the reviewers questioned that and said, you know,

13          This may not work if you need a booster shot since you are

14          already immune to the Adenovirus and the booster shot might

15          not work and you might not get what you need to get protected

16          against Marburg.        In the revised proposal, that kind of thing

17          was addressed.

18           Q. All right.        And so he addressed what your concerns were

19          was that people might have to have a booster shot, and he

20          actually identified, I believe, six or seven patents that the

21          company had regarding this particular way around it, so to

22          speak?

23           A. Well, they had patents on different kinds of things.                   But

24          the way around it was they found that if you get a higher

25          dose of a vaccine, you can get a way around it.                 So those




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 46 of 54

                                                                              46



 1          were part of the grant proposal for them to test whether that

 2          would work.

 3           Q. And that actually tested whether that would work in

 4          monkeys?

 5           A. Correct.

 6           Q. And it worked?

 7           A. It seemed to work, yeah.

 8           Q. And the monkey studies, based upon that new theory or the

 9          new patent, was 100 percent successful?

10           A. Correct.

11           Q. And you were pleased with the scientific progress of this

12          grant?

13           A. I was.

14           Q. And the next phase, of course, would have been to go to

15          human trials?

16           A. There would need to be more monkey studies, I think.

17          It's important to know the type of dosing to give, you know,

18          how much of the vaccine to give, if you are going to give a

19          booster, how far apart the booster is, it was a week apart,

20          you know, two weeks apart, three weeks apart, and to look at

21          the immune response that you develop in this.                So that still

22          was being developed.

23           Q. And it's not unusual for science to change during the

24          pendency of a grant, is it?            I mean, not scientific

25          milestones, but I guess research can take scientists




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 47 of 54

                                                                              47



 1          different places?

 2           A. Correct.

 3           Q. And so is it unusual for a grantee to want to change, for

 4          example, you know, who performs a certain study for them, or

 5          I mean, they can change that during the course of the grant?

 6           A. Yes.      So sometimes that happens.          Sometimes a company

 7          disappears, it goes down, and so they have to have another

 8          way of testing it or another contract research organization

 9          to do the testing.         So it's still -- it's the same work, but

10          if it could be done by somebody else that would also be, you

11          know, a reasonable --

12           Q. And if they could find someone to do it cheaper, the same

13          stuff, would that also be reasonable science or still good in

14          your opinion?

15           A. Yes.      And that is done in many cases.

16                       So normally you would get quotes from different

17          companies.      And just like if you were going to remove a roof,

18          you look at the quality of the work and the amount of money

19          that is proposed to do that work, and you try to make a

20          scientific decision saying that, you know, this can be done a

21          little cheaper and the quality of the work is the same, then,

22          you know, scientists would maybe go with the cheaper route as

23          long as the quality was there.

24           Q. And that's -- there is nothing wrong with that as long as

25          the quality is there?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499    Page 48 of 54

                                                                               48



 1           A. Correct.

 2           Q. Now, we've seen this NIH Policy Guidelines Manual.                     Once

 3          that manual was published in 2003, aren't there monthly,

 4          like, revisions to that manual that NIH puts out over the

 5          course of a year, or years?

 6           A. Yeah.      I'm not sure --

 7           Q. Okay.

 8           A. -- of that.

 9           Q. So you are not sure about how many revisions there are to

10          the --

11           A. No, I'm not sure what manual you are referring to.

12           Q. Okay.      Now, what is a GLP lab?

13           A. So GLP means good laboratory practices, and it's a

14          laboratory that again has a lot of quality control.                      So you

15          have standard operating procedures to do all different

16          things.      You have -- like if you are going to incubate

17          something in the refrigerator or a water bath, if you -- say

18          you are going to do it at 37 degrees, plus or minus two

19          degrees, it needs to be that, okay?              If you are pipetting a

20          certain amount of something, you need to have your pipettors

21          calibrated.

22                       So there is a lot of calibrations for all of the

23          pieces of equipment.          There is training for everybody who is

24          using any of those pieces of equipment.                 There is specified

25          maintenance of each piece of equipment to make sure that it's




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 49 of 54

                                                                              49



 1          performing at the top caliber that it needs to be.                 So there

 2          is a lot of paperwork, a lot of documentation to do something

 3          in GLP.

 4           Q. All right.        And so to be a vaccine production, or if they

 5          were trying to have a new facility to be a GLP, it's a highly

 6          technical type of facility that has to have a lot of checks

 7          and balances?

 8           A. Correct.

 9           Q. Including clean rooms and things like that?

10           A. Correct.

11           Q. All right.        And so with regard to this particular NIH

12          Marburg Grant, you believe that the science was achieved

13          yearly?

14           A. It seemed like the science was being achieved yearly.

15          There were some changes and we agreed to those changes, so --

16           Q. And you thought the finances were reasonable in relation

17          to the science, that the work that was being done with regard

18          to the money that was being charged?

19           A. Correct.

20                       MS. PARHAM:       That's all I have.

21                       MR. DICKINSON:          May I ask a question?

22                       THE COURT:     Say what?

23                       MR. DICKSON:       May I ask my question?

24                       THE COURT:     I didn't know Ms. Parham was through.

25          Certainly.




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 50 of 54

                                                                              50



 1                       MS. PARHAM:       I'm sorry.

 2                       MR. DICKSON:       Thank you, sir.

 3                                        CROSS-EXAMINATION

 4          BY MR. DICKSON:

 5           Q. You were not familiar with any personal finances of

 6          GenPhar, Inc., are you?

 7           A. No, I'm not.

 8           Q. You don't know how much the shareholders have invested in

 9          the company?

10           A. No.      I have no idea.

11           Q. How many shareholders there were?

12           A. Pardon me?

13           Q. Or how many shareholders there were?

14           A. No.

15           Q. Okay.

16                       MR. DICKSON:       Thank you.

17                       THE COURT:     Redirect?

18                       MR. KLUMB:       Thank you, Your Honor.

19                                      REDIRECT EXAMINATION

20          BY MR. KLUMB:

21           Q. Dr. Repik, you said that there was some changes and you

22          agreed to them.        What were they?

23           A. So when the grant was proposed, they proposed to

24          inoculate or, you know, to vaccinate with an intramuscular

25          route.    So if it's a needle, it would be a needle stick,




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 51 of 54

                                                                              51



 1          essentially, to deliver the vaccine.

 2                       And one of the -- you know, scientifically it seemed

 3          like, you know -- there was some studies that were done and

 4          it seems like if you gave the vaccine instead of an injection

 5          in the arm or an injection wherever, that if you gave it by,

 6          say, a spray up the nose, like a flu mist or something like

 7          that, but they can help overcome this problem, the potential

 8          problem of --

 9           Q. So one change was the method of administration?

10           A. Yes.      So originally it wasn't proposed to look at those

11          other alternative methods, so it would be a different kind of

12          delivery group.        So whether it's a tablet that you might --

13          not a tablet -- but say like a Listerine mint strip that just

14          melts in your mouth, that could be a vaccine delivery system,

15          or a spray up the nose, like flu mist.

16                       So we agreed to, you know, not change the whole

17          direction of the whole thing, but to include those kind of

18          tests in the monkeys, you know, to see if that would be a

19          proper vaccination or delivery system.

20           Q. Did GenPhar get your permission for that?

21           A. They got my permission for that.

22           Q. You indicated that the milestones were achieved.                    Was one

23          of the milestones GMP production?

24           A. Correct.

25           Q. Could you describe briefly for us in layperson's terms




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 52 of 54

                                                                              52



 1          what that is?

 2           A. So GMP means good manufacturing processes.                And that's

 3          again very, very strictly regulated.              And they have different

 4          contract research organizations usually that will do GMP

 5          manufacturing.        So manufacturing is different than good

 6          laboratory practices, okay?            There are different standards

 7          for manufacturing, but they have to be -- have all these

 8          same -- everything has to be calibrated.                Everything has to

 9          be checked over and over.            You have to make sure that the

10          product you are manufacturing is what it says it is.                    And so

11          there is a lot of tests to make sure of that.

12                       So you have probably cullin sequence to make sure

13          that the genome of the virus doesn't change, that it's pure,

14          that there is no mutations put into it as the virus is

15          replicating, that it's safe, there is -- it's safe for

16          everyone to use, it's not toxic.             So there are a whole slew

17          of tests that have to go through GMP manufacturing, you know.

18           Q. Okay.      Is that necessary to start a clinical work with

19          humans?

20           A. Usually if you are going to do clinical work, you can --

21          you may be able if you -- you would need to have FDA

22          approvals first off.

23           Q. Okay.      And you indicated it was a milestone.             Was GenPhar

24          able to reach that milestone?             Did they actually get GMP

25          production of their vaccine candidate?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 53 of 54

                                                                              53



 1           A. So I don't believe that they have GMP production on the

 2          vaccine candidate.

 3           Q. Thank you.        Now, you also asked -- told Ms. Parham that

 4          if a subcontractor on a cooperative agreement can do it

 5          cheaper to maintain the same quality, the cooperative

 6          agreement recipient is free to go ahead and do that, right?

 7           A. Correct.

 8           Q. To the extent that there is a cost savings there and

 9          there is leftover money, do they get to use, then, that money

10          for any purpose?

11           A. So if -- so the grant is awarded with money in certain

12          categories.       And so you have money that goes to supplies,

13          money that goes to salaries and that sort of thing.                     And so

14          they can re-budget money.            If they can do something cheaper,

15          they don't get anymore money, but they can re-budget money

16          and put it into salaries or publications and that sort of

17          thing.

18           Q. Could they put it towards different research, research,

19          say, of a Dengue virus?

20           A. No, they could not.

21           Q. How about travel and entertainment?

22           A. No.      I mean, so --

23           Q. How about a building?

24           A. Definitely not.

25           Q. How about lobbying?




                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
     2:11-cr-00511-BHH     Date Filed 11/26/14   Entry Number 499   Page 54 of 54

                                                                              54



 1           A. No.

 2                       MR. KLUMB:       Thank you.      That's all I have.

 3                       THE COURT:     Anything further?

 4                       MS. PARHAM:       No, sir.

 5                       THE COURT:     Okay.     Thank you, ma'am.      You are

 6          excused.

 7

 8                                   *****        *****       *****

 9

10          I certify that the foregoing is a correct transcript from the

11          record of proceedings in the above-titled matter.

12

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14

15          ---------------------------

16

17          Amy C. Diaz, RPR, CRR                         November 24, 2014

18          S/   Amy Diaz

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                         AMY C. DIAZ, RPR, CRR OFFICIAL COURT REPORTER
